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12   Attorney for Plaintiff Second Amendment Foundation
13                    IN THE UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA
15    JUNIOR SPORTS MAGAZINES               CASE NO: 2:22-cv-04663-CAS (JCx)
      INC., RAYMOND BROWN;
16    CALIFORNIA YOUTH SHOOTING             PLAINTIFFS’ NOTICE OF MOTION
      SPORTS ASSOCIATION;                   AND MOTION FOR PRELIMINARY
17    REDLANDS CALIFORNIA YOUTH             INJUNCTION
      CLAY SHOOTING SPORTS INC.;
18    CALIFORNIA RIFLE & PISTOL             Hearing Date:      August 22, 2022
      ASSOCIATION, INCORPORATED;            Hearing Time:      10:00 a.m.
19    THE CRPA FOUNDATION; GUN              Courtroom:         8D
      OWNERS OF CALIFORNIA; and             Judge:             Christina A. Snyder
20    SECOND AMENDMENT
      FOUNDATION,
21
                            Plaintiffs,
22
                     v.
23
      ROB BONTA, in his official capacity
24    as Attorney General of the State of
      California; and DOES 1-10,
25
                            Defendants.
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                                             1
       PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
Case 2:22-cv-04663-CAS-JC Document 12 Filed 07/20/22 Page 2 of 4 Page ID #:150



1     TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
2           Notice is hereby given that on August 22, 2022, at 10:00 a.m. in Courtroom
3     8D of the above-captioned court, located at First Street Courthouse, 350 W. First
4     Street, Los Angeles, California 90012, Plaintiffs Junior Sports Magazines
5     Incorporated, Raymond Brown, California Youth Shooting Sports Association,
6     Redlands California Youth Clay Shooting Sports Inc., California Rifle & Pistol
7     Association, Inc., The CRPA Foundation, Gun Owners of California, and the
8     Second Amendment Foundation (collectively, “Plaintiffs”) will move for a
9     preliminary injunction under Rule 65(a) of the Federal Rules of Civil Procedure.
10    Specifically, Plaintiffs will seek an order temporarily enjoining Defendant Attorney
11    General Rob Bonta, employees, agents, successors in office, and all District
12    Attorneys, County Counsel, and City Attorneys holding office in the state of
13    California, as well as their successors in office, from Business & Professions Code
14    section 22949.80 during the pendency of this action.
15          Plaintiffs have simultaneously filed, and the Court will soon consider,
16    Plaintiffs’ Ex Parte Application for an Order Shortening Time to Hear Plaintiffs’
17    Motion for Preliminary Injunction, which seeks an order that this motion be heard
18    on August 8, 2022, at 10:00 a.m. in the above-entitled court. Barvir Decl. ¶ 3. The
19    Court has not yet ruled on Plaintiffs’ request, and counsel for Defendant Bonta has
20    stated that he would oppose that request. Id.
21          Plaintiffs bring this motion because section 22949.80 violates Plaintiffs’
22    rights to free speech, association, and assembly protected by the First Amendment,
23    as well as their rights to equal protection under the law protected by the Fourteenth
24    Amendment. Unless this Court orders the requested preliminary relief, Plaintiffs will
25    continue to suffer actual and substantial irreparable harm as described in the
26    memorandum of points and authorities filed simultaneously herewith.
27          This application is made on the grounds set forth in the accompanying
28    memorandum of points and authorities, the signed declarations of Anna M. Barvir,
                                                2
       PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
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1     Raymond Brown, Anna Canon, Jon Coleman, Andy Fink, Steve Gomez, Alan
2     Gottlieb, Kent Kappen, Richard Minnich, Sam Paredes, Allison Rangel, and Rick
3     Ryan, and all exhibits attached thereto, all pleadings and papers filed in this action,
4     the argument of counsel, and further evidence as the Court may consider at or before
5     a hearing on this Application or the hearing on the Order to Show Cause and
6     preliminary injunction requested herein.
7
8     Dated: July 19, 2022                 MICHEL & ASSOCIATES, P.C.
9                                          s/ Anna M. Barvir
                                           Anna M. Barvir
10                                         Counsel for Plaintiffs Junior Sports Magazines
                                           Incorporated, Raymond Brown, California
11                                         Youth Shooting Sports Association, Inc.,
                                           Redlands California Youth Clay Shooting
12                                         Sports Inc., California Rifle & Pistol
                                           Association, Inc., The CRPA Foundation, and
13                                         Gun Owners of California
14    Dated: July 19, 2022                 LAW OFFICES OF DONALD KILMER, APC
15                                         s/ Donald Kilmer
                                           Donald Kilmer
16                                         Counsel for Plaintiff Second Amendment
                                           Foundation
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       PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
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 1
                              CERTIFICATE OF SERVICE
 2                      IN THE UNITED STATES DISTRICT COURT
 3                        CENTRAL DISTRICT OF CALIFORNIA

 4    Case Name: Junior Sports Magazines, Inc., et al. v. Bonta
 5    Case No.: 2:22-cv-04663-CAS (JCx)

 6    IT IS HEREBY CERTIFIED THAT:
 7
             I, the undersigned, am a citizen of the United States and am at least eighteen
 8    years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
 9    Beach, California 90802.

10           I am not a party to the above-entitled action. I have caused service of:
11
                   PLAINTIFFS’ NOTICE OF MOTION AND MOTION
12                       FOR PRELIMINARY INJUNCTION
13
      on the following party by electronically filing the foregoing with the Clerk of the
14    District Court using its ECF System, which electronically notifies them.
15
      Kevin J. Kelly, Deputy Attorney General
16    kevin.kelly@doj.ca.gov
17    300 South Spring Street, Suite 9012
      Los Angeles, CA 90013
18       Attorney for Defendant
19
             I declare under penalty of perjury that the foregoing is true and correct.
20
21    Executed July 20, 2022.
22
23                                                  Laura Palmerin
24
25
26
27
28


                                CERTIFICATE OF SERVICE
